Case 7:19-cv-00417-MFU Document 23 Filed 10/03/19 Page 1 of 1 Pageid#: 118
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JESSICA H ECKM AN ,qtp-ky
         Plaintiffs

                                                  CivilAction N o.:7:19-CV-417

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                                                  By: M ichaelF.Urbansld
         D efendants                              ChiefUnited StatesDistrictJudge

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attorneys'fees,expenses,and costs.Accorclingly,thiscaseishereby D ISM ISSE D with

prejudiceand stdcken from thedocketofthecourt.A1lpendingmotionsareDENIED as
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